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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TENNESSEE
__________________________________________
FedEx Supply Chain Logistics & Electronics, Inc.


v.
                                                                2:22-cv-02684
                                                      Case No. _______________________
James Goodman
__________________________________________



           NOTICE TO JUDGMENT DEBTOR (NON-WAGE GARNISHMENT)

      To collect a judgment against you in this lawsuit, your money or other property
has been seized by execution or garnishment. An execution allows the United States
Marshal to sell the property levied upon.

       READ THIS CAREFULLY. YOU MAY BE ABLE TO KEEP YOUR MONEY OR
PROPERTY OR GET IT BACK. State and federal laws prevent certain types of money or
property from being used to pay a judgment. Such money or property is “exempt.”
Examples of exempt money are: Social Security benefits, SSI, unemployment benefits,
veterans’ benefits, AFDC, and most government pensions. Examples of exempt property
are certain health care aids and “tools of trade.” These examples of exempt money and
property constitute only a partial list, and you may have other exemptions.

       If you think you have exempt money or property that has been seized you have
the right to file a motion with the court clerk’s office identified below claiming your
exemption and asking for release or return of your money or property.

       You can get a form for filing this motion at the clerk’s office below. YOU SHOULD
ACT QUICKLY. If you file a motion within twenty (20) days from the date this notice was
mailed to you or was given to you, the court must hear and decide your motion
promptly, and in no event later than fourteen (14) days from filing. The clerk will notify
you of the time, date, and place of the hearing.

      IF YOU DO NOT UNDERSTAND YOUR RIGHTS OR HOW TO EXERCISE THEM,
YOU MAY WISH TO CONSULT WITH A LAWYER. IF YOU CANNOT AFFORD A LAWYER,
YOU MAY BE ELIGIBLE FOR FREE LEGAL ASSISTANCE. The court clerk’s office can
provide you with forms and information about legal services in your area, but the clerk
cannot give you legal advice.

Clerk, U.S. District court       To be provided by Judgment Creditor:
167 N. Main
Suite 242
                                  James Goodman
                                 ____________________________________________________
Memphis, TN 38103                Judgment Debtor
(901) 495-1200
                                  103 Tomahawk Trail
                                 ____________________________________________________
                                 Judgment Debtor’s Last Known Street Address
                                  San Antonio, TX 78232
                                 ____________________________________________________
                                 Judgment Debtor’s Last Known City, State & Zip Code



                                                                                 FORM 8
